                          IN THE UNITED STATES COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                          §
     Plaintiff,                                    §
                                                   §
       VS.                                         §           NO. 18-00293-CR-W-DGK
                                                   §
LEEANNA SCHROEDER                                  §
     Defendant.                                    §
                                                   §


                             MOTION FOR RECONSIDERATION
                                  PRETRIAL RELEASE


       Defendant Leeanna Schroeder moves the Court to reconsider pretrial release and granting

bond on her personal recognizance, and in support states:


                                        LEGAL STANDARD


       1. Pursuant to Rule 46(c) and 18 U.S.C. 3143 the burden of establishing that the defendant

             will not flee or pose a danger to the community rests with the defendant.

       2. Pursuant to 18 U.S.C. 3142, 3143(2) the Court shall detain a defendant under the

             Controlled Substance Act which a maximum term of imprisonment includes ten years or

             more, unless, … the Court finds by “clear and convincing evidence that the person is not

             likely to flee or pose a danger to any other person or the community.”

                                 PROCEDURAL BACKGROUND

       3. Ms. Schroeder has been in the custody since December 18, 2018 whereby at the

             defendant’s initial appearance the Court denied pretrial release based on the pending

             matters out of St. Louis and Lincoln County. But the Court instructed counsel to file a

             motion to reconsider if that status changed.


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       4. On April 4, 2019, St. Louis County Missouri case # 17SL-CR03422-01 against Ms.

           Schroeder was dismissed. (see attached exhibit)

       5. On November 20, 2019, Lincoln County Missouri case # 18L6-CR00746 against Ms.

           Schroeder was dismissed. Essentially, the alleged criminal conduct in 18L6-CR00746 is

           the basis for the same alleged conduct in this case. (see attached exhibit)

       6. Based on the amount of discovery, number of defendants, alleged criminal conduct, and

           case complexity, it is very likely that this matter will take a substantial period of time

           before the actual trial is concluded.

       7. Ms. Schroeder is from the St. Louis area. Her immediate family resides in that area and is

           willing to provide her with a residential plan if she is granted pretrial release.

       8. Ms. Schroeder has small children that need her attention and care.

       9. Ms. Schroeder has no pending cases except this matter.

       10. Ms. Schroeder has been made aware of pretrial conditions and is confident she can

           comply with any conditions the court may order.

       11. Ms. Schroeder has no history of violence or danger to the community.

       12. Ms. Schroeder is without financial means to be considered a flight risk.

       13. Counsel has not yet heard back from the government and is unaware of its position to

           this motion.

                                           CONCLUSION


        Ms. Schroeder has been detained since December 18, 2018. She was arrested on that date

without incident. Her two pending matters in the St. Louis area have been dismissed and no

warrants or pending matters exist. She has close family ties that can provide a residential plan and

supportive living environment so she can gain employment and be with her young children. Finally,

she poses no threat to the community or absconding.

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       For the foregoing reasons, Ms. Schroeder moves the Court to reconsider pretrial release

based on her personal recognizance and further request a hearing if government counsel objects.


                                               Respectfully submitted,

                                               /S/ CYNTHIA M. DODGE

                                               Cynthia M. Dodge
                                               312 SW Greenwich Drive, #10
                                               Lee’s Summit, MO 64082
                                               MO#47754 KS#78371
                                               (816) 246-9200
                                               FAX (816) 246-9201
                                               cindy@cdodgelaw.com
                                               ATTORNEY FOR DEFENDANT



                             CERTIFICATE REGARDING SERVICE

I hereby certify that it is my belief and understanding that counsel for plaintiff, and counsel for the
co-defendants in this matter are participants in the Court’s CM/ECF program and that separate
service of the foregoing document is not required beyond the Notification of Electronic Filing to be
forwarded on November 22, 2019 upon the filing of the foregoing document.

/s/ Cynthia M. Dodge
_________________________
CYNTHIA M. DODGE




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             IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                             STATE OF MISSOURI
STATE OF MISSOURI,                                 )               Date: April 4, 2019
                                                   )
                  Plaintiff,                       )
                                                   )               Cause No.: 17SL-CR03422-01
           vs.                                     )
                                                   )
                                                   )               Division No. 09
Leeanna Schroeder ,                                )
              Defendant.                           )


           Comes now the State of Missouri by its below-signed Assistant Prosecuting Attorney and enters

an order of nolle prosequi as to Count 1 – Possession of a Controlled Substance.




                                                       /s/ Brooke Hurst


                                                       Brooke Hurst, MBE# 65547
SO ORDERED:                                            Assistant Prosecuting Attorney
                                                       Phone (314) 615-2600



Judge
Division                                               Attorney
                                                       Phone


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             IN THE CIRCUIT COURT OF LINCOLN COUNTY, MISSOURI
                         ASSOCIATE JUDGE DIVISION 2
                            45TH JUDICIAL CIRCUIT

STATE OF MISSOURI,                          )
     Plaintiff,                             )
                                            )
vs.                                         ) Case No. 18L6-CR00746
                                            )
                                            )
LEEANNA SCHROEDER,                          )
    Defendant.                              )


                                   DISMISSAL
       COMES NOW the State of Missouri, Plaintiff, by and through Michael L. Wood,
Prosecuting Attorney of Lincoln County, and hereby dismisses the above matter without
prejudice.



                                                    Michael L. Wood, Bar # 60652
                                                    Prosecuting Attorney
                                                    P. O. Box 319
                                                    Troy, MO 63379
                                                    (636) 528-8571



       I undersigned certifies that on November 20, 2019, I electronically filed the foregoing
with the Clerk of Lincoln, Missouri Court, using Missouri eFiling System.




                                                    Michael L. Wood




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